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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

  RAEANN BAYLESS,

             Plaintiff,

  v.                                                 Case No.: 6:20-cv-00831-RBD-GJK

  BOSTON SCIENTIFIC CORP.
  and COLOPLAST CORP.,

        Defendants.
  ____________________________________/

                          JOINT FINAL PRETRIAL STATEMENT

             Pursuant to the Court’s Amended Case Management and Scheduling Order

  (Doc. No. 185) and Local Rule 3.06(b), Plaintiff Raeann Bayless (“Plaintiff”),

  Defendant Boston Scientific Corporation (“Boston Scientific”), and Defendant

  Coloplast Corp. (“Coloplast”) (collectively, “the Parties”), file this Joint Final Pretrial

  Statement.

       I.       Basis for the Court’s Jurisdiction

             This Court has jurisdiction under 28 U.S.C. § 1332 because this action is

  between citizens of different states and the matter in controversy exceeds the sum or

  value of $75,000, exclusive of interest and costs.

       II.      A Concise Statement of the Action

             This is a products liability case wherein the Plaintiff, Ms. Bayless, seeks

  compensatory and punitive damages for personal injuries sustained after being

  implanted with Boston Scientific’s Advantage Fit Transvaginal Mid-Urethral Sling
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  System and Coloplast’s Restorelle Y surgical mesh implant. Ms. Bayless contends both

  mesh implants were defectively designed, lacked adequate warnings, and that the

  defects were a cause of her injuries and damages. She further contends that the

  Defendants acted negligently. Defendants, Boston Scientific and Coloplast, deny all

  of Plaintiff’s allegations.

         Ms. Bayless had surgery on August 9, 2013 performed by Dr. Kathy Jones. The

  surgery consisted of a robotic-assisted total laparoscopic hysterectomy, placement of a

  retropubic mid-urethral sling to treat stress urinary incontinence (“SUI”), an

  abdominal sacral colpopexy to treat pelvic organ prolapse (“POP”), and a cystoscopy.

  The treatment for SUI included using Boston Scientific’s Advantage Fit sling. The

  treatment for POP included using Coloplast’s Restorelle Y.

     III.   Brief Summaries of Each Party’s Case

            a. Plaintiff’s Case

         The Defendants manufacture and sell polypropylene mesh devices to treat

  certain pelvic floor conditions in women. Boston Scientific sells the Advantage Fit

  sling, used to treat the condition of stress urinary incontinence (“SUI”). Coloplast sells

  the Restorelle Y, used to treat the condition of pelvic organ prolapse (“POP”). SUI

  occurs when there is an involuntary loss of urine during everyday activities such as

  coughing, sneezing, or exercising, whereas POP occurs when the pelvic floor muscles

  in a woman’s body become weak and organs begin to push into the vagina.

         The material that makes up these mesh implants—polypropylene—is not


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  indicated for human implantation. Its recommended uses include carpet backing and

  rope. The material is biologically incompatible with human tissue and promotes a

  negative immune response in a large portion of the women treated with it.

  Polypropylene creates a non-anatomic condition in the pelvis region, leading to

  chronic pain and other disabilities, including erosion, contraction, infection, fistula

  formation, inflammation, scar tissue, organ perforation, dyspareunia (pain during

  sexual intercourse), chronic nerve damage, and other debilitating complications.

  Many of these conditions can be permanent, lifelong, and untreatable even with

  surgical intervention. What’s more, neither Boston Scientific nor Coloplast conducted

  safety tests or clinical trials on the Advantage Fit or Restorelle Y to determine the risks

  and lasting complications patients could suffer as a result of these mesh products.

         On August 9, 2013, Plaintiff Raeann Bayless was in implanted with Boston

  Scientific’s Advantage Fit sling (to treat her SUI) and Coloplast’s Restorelle Y (to treat

  her POP). Not long after surgery, Plaintiff began to experience pelvic and abdominal

  pain, painful intercourse, and vaginal bleeding.        Since 2015, Plaintiff has been

  diagnosed by several physicians with mesh erosion and exposure of the mesh into her

  vagina. Moreover, it has been recommended that Ms. Bayless have the mesh removed

  as soon as possible.

            b. Defendant Boston Scientific’s Case

         Plaintiff suffered from multiple pelvic conditions leading up to her pelvic floor

  reconstructive surgery, including a uterine prolapse, a cystocele, and stress urinary

  incontinence. On August 9, 2013, Plaintiff’s treating physician, Dr. Kathy Jones,
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  performed surgery on the Plaintiff which included a robotic-assisted total laparoscopic

  hysterectomy, an abdominal sacral colpopexy using the Coloplast Restorelle Y

  surgical mesh implant (to treat her pelvic organ prolapse), and placement of the Boston

  Scientific Advantage Fit (to treat her SUI).

        Boston Scientific sold the Advantage Fit, which is an FDA-cleared,

  prescription-only medical device. Defendant Boston Scientific denies that the

  Advantage Fit used in Ms. Bayless’ surgery was defective; denies that Boston Scientific

  failed to provide adequate warnings to Ms. Bayless’ surgeon, Dr. Jones; and denies

  that a defect in the Advantage Fit or Boston Scientific’s warnings caused Ms. Bayless’

  alleged injuries. Boston Scientific further disputes Plaintiff’s summary of the case set

  forth above, the vast majority of which is either inaccurate or inapplicable, or both.

            c. Defendant Coloplast’s Case

        Plaintiff suffered from multiple pelvic conditions leading up to her pelvic floor

  reconstructive surgery, including a uterine prolapse, a cystocele, and stress urinary

  incontinence. Plaintiff claims to have suffered injuries after having pelvic floor

  reconstructive surgery on August 9, 2013 to correct her stress urinary incontinence

  (“SUI”) and her pelvic organ prolapse (“POP”). SUI means that she was involuntarily

  leaking urine. In this case, POP means that Ms. Bayless’ bladder and uterus had

  dropped down into her vagina.        Plaintiff’s physician, Dr. Jones, implanted two

  products during the procedure: the Boston Scientific Advantage Fit mesh sling to treat

  Plaintiff’s SUI, and the Coloplast Restorelle Y surgical mesh implant to treat Plaintiff’s



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  POP. As to Restorelle Y, Plaintiff sole allegation is that it degraded after Ms. Bayless’s

  implant surgery and caused certain ailments.

        Coloplast sold the Restorelle Y mesh, which is an FDA-cleared, prescription-

  only medical device. As Coloplast’s expert evidence will demonstrate, Restorelle Y is

  biocompatible and suitable for permanent implantation into humans. It is made from

  knitted, monofilament polypropylene, which has been found to be safe and effective

  to treat POP and has been successfully used in implants in the female pelvic floor as

  well as other parts of the body. Plaintiff alleges that Restorelle Y was defective in

  design and warnings, thereby causing her alleged injuries.

        Coloplast denies those allegations. Restorelle Y is not defective and Coloplast

  adequately warned Dr. Jones.        Moreover, no evidence exists that Ms. Bayless’

  Restorelle Y implant degraded and no alleged defect or failure to warn caused

  Plaintiff’s claimed injuries. Coloplast further disputes Plaintiff’s summary of the case

  set forth above, the vast majority of which is either inaccurate or inapplicable, or both.

     IV.    Joint Exhibit List of Stipulated and Unopposed Exhibits and Individual
            Party Exhibit Lists of Opposed Exhibits

            At their counsel meeting, the parties agreed to review their existing exhibit
            lists and exhibits that they exchanged pursuant to their prior agreement and
            the Court’s orders (Docs. 98, 201, and 202) and refine the exhibits identified
            on those lists into narrowed or culled exhibit lists to identify the exhibits that
            each party is most likely to use at trial (without waiving the right to use an
            exhibit identified in their original exchanges of exhibit lists and exhibits).

            1. Joint Exhibit List attached as Exhibit 1.

            2. Plaintiff’s Exhibit List and Narrowed Exhibit List attached as Exhibit 2.



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              3. Boston Scientific’s Exhibit List and Narrowed Exhibit List attached as
                 Exhibit 3.

              4. Coloplast’s Exhibit List and Narrowed Exhibit List attached as Exhibit
                 4.

      V.      Individual Party Witness Lists A and B and Expert Witness Lists

              1. Plaintiff’s Witness Lists attached as Exhibit 5.

              2. Boston Scientific’s Witness Lists attached as Exhibit 6.

              3. Coloplast’s Witness Lists attached as Exhibit 7.

      VI.     A Breakdown of the Type and Amount of Monetary Damages

           Plaintiff:   Plaintiff seeks $111,861.29 in past medical expenses. Plaintiff
                        seeks future medical expenses, noneconomic damages for mental
                        and physical pain and suffering, physical impairment,
                        disfigurement, mental anguish, inconvenience, permanent
                        physical injury, and loss of the capacity for the enjoyment of life
                        suffered in the past and to be sustained in the future and punitive
                        damages in an amount to be determined by the jury at trial based
                        on the evidence presented.

           Defendants: Defendants deny that Plaintiff is entitled to any of the damages set
                       forth above. Defendants further object to the admission into
                       evidence of the amount of past medical expenses listed by Plaintiff
                       above.

      VII. Deposition Designations and Color-Coded Transcripts 1

              1. Plaintiff’s Deposition Designations specific to Boston Scientific attached
                 as Exhibit 8a.


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    Due to the size of the color-coded transcripts, as well as the existence of Confidential and
  Highly Confidential information contained therein, the parties have filed the page/line
  designations as exhibits to the Joint Pretrial Stipulation and will submit the color-coded
  transcripts to the Court via email along with the other material required under section V.D.
  of the Case Management and Scheduling Order (Doc. 98). The parties are conferring and
  attempting to reach an agreement on this confidential information. In the interim and to
  avoid any inconvenience to the Court, the parties will submit the deposition transcript
  directly to the Court by hard copy if the Court prefers.
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               2. Plaintiff’s Deposition Designations specific to Coloplast attached as
                  Exhibit 8b.

               3. Boston Scientific’s Deposition Designations attached as Exhibit 9.

               4. Coloplast’s Deposition Designations attached as Exhibit 10.

     VIII. Jury Instructions and Verdict Form

               1. Joint Set of Jury Instructions attached as Exhibit 11.

               2. Plaintiff’s proposed Verdict Form attached as Exhibit 12.

               3. Defendants’ proposed Verdict Form as Exhibit 13.

     IX.       Proposed Voir Dire

               The parties jointly propose the juror questionnaire for use at the trial,

               attached as Exhibit 14.     To the extent this Court does not utilize the

               questions included in the juror questionnaire, the parties request that the

               questions be asked of jurors during voir dire. The parties propose additional

               questions for the Court to ask, and will present those questions at the pretrial

               conference.

     X.        Concise Statement of Agreed Facts

          1.      On August 9, 2013, Dr. Kathy Jones performed surgery on Plaintiff that
                  included a robotic-assisted total laparoscopic hysterectomy, placement of
                  a mid-urethral sling for treatment of SUI using Boston Scientific’s
                  Advantage Fit, an abdominal sacral colpopexy for POP repair using
                  Coloplast’s Restorelle Y, and a cystoscopy.

          2.      Plaintiff was a 48-year-old Florida resident at the time of her surgery.

          3.      Boston Scientific sold the Advantage Fit used in Plaintiff’s surgery.




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        4.      Advantage Fit is a prescription-only mid-urethral sling indicated to treat
                SUI.

        5.      Coloplast Corp. sold the Restorelle Y implant used in Plaintiff’s surgery.

        6.      Restorelle Y is a prescription-only polypropylene surgical mesh implant
                indicated for POP repair.

     XI.     Concise Statement of Disputed Facts

     Defendants’ Positions:

        1.      Whether the Advantage Fit and Restorelle Y are FDA-cleared implants.

        2.     Whether Plaintiff is able to meet her burden of proving, by a
               preponderance of the evidence, that the Advantage Fit was defective in
               its design.

        3.     Whether Plaintiff is able to meet her burden of proving, by a
               preponderance of the evidence, that Dr. Kathy Jones was not adequately
               warned of the risks associated with the Advantage Fit.

        4.     Whether Plaintiff is able to meet her burden of proving, by a
               preponderance of the evidence, that a defect in the design or warnings of
               the Advantage Fit proximately caused her claimed damages.

        5.     Whether Plaintiff is able to meet her burden of proving, by a
               preponderance of the evidence, the nature and extent of the damages, if
               any, sustained by Plaintiff and proximately caused by the Advantage Fit.

        6.     Whether Plaintiff is able to meet her burden of proving, by clear and
               convincing evidence, entitlement to and the nature and amount, if any,
               of punitive damages relating to Boston Scientific and the Advantage Fit.

        7.     Whether Plaintiff is able to meet her burden of proving that the Restorelle
               Y was defective in design or failure to warn.



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        8.     Whether Plaintiff is able to meet her burden of proving that a defect in
               design or failure to warn in the Restorelle Y proximately caused her
               claimed damages.

        9.     Whether Plaintiff is able to meet her burden of proving the nature and
               extent of the damages, if any, sustained by Plaintiff and proximately
               caused by the Restorelle Y.

        10.    Whether Plaintiff is able to meet her burden of proving punitive damages
               relating to the Restorelle Y.

     Plaintiff’s Position:


        • Whether the Advantage Fit and Restorelle Y were defective in design.

        • Whether the Advantage Fit and Restorelle Y were defective because they
          lacked adequate warnings as to any of the following risks and/or
          complications, including but not limited to:

                  a. That the polypropylene mesh degrades.

                  b. That used was more rigid and aggressive to tissues.

                  c. That there had been no pre-market implantation testing of the
                     Advantage Fit and Restorelle Y.

                  d. That the mesh shrinks and contracts in vivo.

                  e. That the properties of the mesh were such that scarplate formation
                     occurs.

                  f. That the mesh pore size would not allow for proper tissue
                     integration.

                  g. That the elasticity percentage at strain of the mesh had not been
                     defined pre-market.

                  h. As to inadequate pre-market testing as to the mating of the
                     properties of the mesh to the natural properties of the female
                     pelvis.

                  i. As to deformation of the product and its pore size once the product

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                    was under stress.

                 j. As to the blind passage of the Advantage Fit and Restorelle Y
                    systems implantation approach causing tissue and nerve damage.

                 k. As to the absence of pre-market randomized control trials.

                 l. That Defendants failed to conduct randomized control trials.

                 m. That Defendants had information regarding the rate of
                    complications associated with the use of transvaginal mesh devices
                    similar to the Advantage Fit and Restorelle Y and never advised
                    doctors of the same.

                 n. As to the difficulty and removal of the mesh system once
                    implanted.

                 o. The permanency of the complications caused by the mesh.

                 p. That Defendants’ polypropylene was made from material
                    unsuitable for permanent human implantation.

        • Whether Boston Scientific and Coloplast were negligent.
        • Whether Boston Scientific and Coloplast breached their duty of care by
          failing to do that which an ordinarily prudent manufacturer would do or not
          do in designing the Advantage Fit and Restorelle Y.
        • Whether Boston Scientific and Coloplast breached their duty of care by
          failing to warn of the risk of the type of harm that occurred.
        • Whether any of the above caused or substantially contributed to causing
          Plaintiff’s damages; and if so, what amounts to award Plaintiff as damages?
        • Were the actions of the Defendants such as to entitled Plaintiff to an award
          of punitive damages; and if so, what amount to award as punitive damages?

     XII. Concise Statement of Agreed Principles of Law

        1.    Florida substantive law applies.

        2.    Subject-matter jurisdiction exists in this Court under 28 U.S.C. § 1332(a).

        3.    Venue is proper in this Court.



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     XIII. Concise Statement of Disputed Issues of Law

     Defendants’ Positions:

        1.    Whether the Advantage Fit was defective in its design.

        2.    Whether Dr. Kathy Jones was not adequately warned of the risks
              associated with the Advantage Fit.

        3.    Whether a defect in the design or warnings of the Advantage Fit
              proximately caused Plaintiff’s claimed damages.

        4.    The nature and extent of the damages, if any, sustained by Plaintiff that
              were proximately caused by the Advantage Fit.

        5.    Whether Plaintiff is entitled to punitive damages relating to Boston
              Scientific and the Advantage Fit, and if so, the nature and amount, if any.


        6.    Whether the Restorelle Y was defective in design or failure to warn.

        7.    Whether a defect in design or failure to warn in the Restorelle Y
              proximately caused any of Plaintiff’s claimed damages.

        8.    The nature and the extent of the damages, if any, sustained by Plaintiff
              that the Restorelle Y proximately caused.

        9.    Whether Plaintiff is entitled to punitive damages against Coloplast
              regarding the Restorelle Y.

        10.   Whether the Court will permit the attorneys to give “interim statements”
              to the jury in addition to opening statements and closing arguments

        11.   Whether the state of the scientific knowledge as of the manufacture dates
              of the defendants’ respective products is an element of plaintiff’s claims
              on which she bears the burden of proof or an affirmative defense on
              which the defendants bear the burden of proof.



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        12.    Whether evidence of FDA clearance of the defendants’ products, the
               defendants’ compliance with FDA regulations, and the defendants’
               communications with FDA concerning their products is relevant and
               admissible with respect to the issues of (1) whether defendants’ products
               were defective, (2) whether defendants failed to exercise reasonable care,
               and (3) whether defendants acted with “gross negligence” or “intentional
               misconduct” as it relates to the Plaintiff.

        13.    Whether concurring cause is an issue in this action.

        14.    Whether the evidence that Plaintiff failed to mitigate her damages is
               sufficient to take that issue to the jury.

        15.    Whether the jury may impose punitive damages on defendants based on
               alleged harms to persons other than Plaintiff.

        16.    Whether the jury may impose punitive damages on defendants based on
               conduct that complied with federal or state law, or was authorized by
               federal or state law, or was otherwise lawful where it occurred.

     Plaintiff’s Position:
        Other than those disputed issues identified in the outstanding motions in limine

     and proposed joint jury instructions, none.

     XIV. A List of Each Pending Motion or Other Unresolved Issue

         1. Plaintiff’s Motion in Limine (Doc. 193).

         2. Boston Scientific’s Motion in Limine (Doc. 191).

         3. Coloplast’s Motion in Limine (Doc. 195).

         4. Coloplast’s Unopposed Motion to Permit Electronic Equipment (Doc.
         215).

         5. Plaintiff’s Unopposed Motion to Substitute Redacted Documents
         (Doc. 217).


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     XV. A Statement of the Usefulness of Further Settlement Discussions

            Boston Scientific and Coloplast welcome any settlement discussion that
        makes a meaningful and reasonable attempt to resolve this matter, including
        referral to U.S. Magistrate Judge Leslie Hoffman for an in-person settlement
        conference. The mediation conducted in this matter occurred before the Court’s
        rulings on the parties’ Daubert and dispositive motions, and was conducted
        remotely. Moreover, Judge Hoffman conducted a settlement conference in
        another case involving pelvic mesh.

             Plaintiff opposes the request for a settlement conference.

     XVI. The Anticipated Length of Trial Based on the Issues Remaining at the
          Conclusion of the Pretrial Meeting

        The Parties estimate that trial will require 14 court days.

     XVII. Additional Matters

        1.      All parties agree that, during trial, each party will disclose witnesses to
                be called in trial 24 hours in advance.

        2.      Boston Scientific and Coloplast propose that exhibits to be used on direct
                examination are disclosed by 7 P.M. the night before, to facilitate
                efficient resolution of any objections with the parties and Court before
                the trial day begins. Plaintiff opposes this proposal.

        3.      All parties agree that, during trial, each party should be required to
                finalize any video deposition excerpts that will be presented at least 24
                hours before they are played for the jury to allow sufficient time for
                resolution of needed objections, video edits, and final proofing.

        4.      Demonstrative Objections: Many of the demonstrative slides Plaintiff
                seeks to publish to the jury are objectionable and improper. Attached as
                Exhibit 15 is a listing of Defendants’ general and specific objections to
                Plaintiff’s proposed demonstratives. Both Defendants adopt and
                incorporate by reference the objections raised by the other Defendant.

                Plaintiff objects to many of Coloplast’s proposed demonstrative exhibits
                because they violate the Court’s ruling on FDA evidence (Slide 22, 40,
                44, 45) or they are improper under FRE 401 and 403 (Slide 68, 70, 71,
                95, 96, 98, 103).


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      LOCAL RULE 3.06(b)(15) PRETRIAL STATEMENT CERTIFICATION
        In preparing this final pretrial statement, I have aimed for the just, speedy, and

  inexpensive resolution of this action.



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